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                                  UNITED    STATES    DISTRICT     COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                        Newport News Division



 UNITED     STATES   OF AMERICA


 v.                                                                                 4:07CR138


 MICHAEL     BREION NEAL


                        Defendant.




                                   REPORT AND       RECOMMENDATION
                                        CONCERNING GUILTY PLEA


                Defendant,        by    consent,     has    appeared      before        the    undersigned

 pursuant     to Rule      11,    Federal    Rules of      Criminal      Procedure,           and referral

 from a     United    States      District        Judge   and    has    entered     a    guilty plea        to

 possession of        stolen firearms,            in violation of        18    U.S.C.     §§    922(j)    and

 924(a)(2).     On January 24,            2008,    defendant appeared before the Court for

 the purpose     of    entering his         guilty plea.          Defendant was          represented by

 appointed counsel,          Walter B.      Dalton,       Esquire.

                Defendant         was    appropriate        in   appearance,            responsive,       and

 competently prepared for the hearing.                     He answered all questions put to

 him   in   clear    and    concise      language.        On    those    occasions        when   he   had    a

 question,     defendant         consulted with counsel           and then promptly answered.

 Defendant was courteous and appropriate in his behavior at all times and

 clearly understood the seriousness of his position.                            At the close of the

 proceeding,     defendant was remanded to the custody of                           the United States

 Marshal,     pending completion of a presentence report.

                Defendant        is twenty years of age,               completed high school,             and

 speaks     English    as    his    native        language.       There       was   no    evidence       that

 defendant     was    on   drugs,       alcohol,    or    medication      which     might      impair     his

 judgment.      He was cooperative throughout the proceeding.
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                  Defendant         entered      his   guilty     plea    pursuant       to    a   plea

 agreement.        The Court         is   completely satisfied,          based upon defendant's

 responses,       that    he   fully      appreciates      his    position.      Furthermore,          he

 acknowledged that the statement of facts prepared in anticipation of his

 plea   accurately        reflects        the    government's     evidence,     in     the    event    of

 trial.


                  After cautioning and examining defendant under oath concerning

 each of the subjects mentioned in Rule 11, the Court determined that the

 offense charged is supported by independent facts,                        establishing each of

 the essential elements of such offense.                    Therefore, the Court recommends

 that the guilty plea be accepted and that defendant be adjudged guilty

 and have    sentence imposed accordingly.

                  Failure      to    file       written   objections      to    this     report       and

 recommendation within ten days from the date of its service shall bar an

 aggrieved party from attacking such report and recommendation before the

 assigned United States District Judge.                    28 U.S.C.      § 636(b)(1)(B).




                                                                          /s/
                                                          James   E.   Bradberry
                                                          United States Magistrate Judge
 Norfolk,    Virginia


 January    24.    2008
